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                                                                      Service of Process
                                                                      Transmittal
                                                                      01/26/2022
                                                                      CT Log Number 540953911
TO:     Florence Yee
        The Prudential Insurance Company of America
        751 BROAD ST
        NEWARK, NJ 07102-3714

RE:     Process Served in Texas

FOR:    Assurance IQ, LLC (Domestic State: WA)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                 Daniel Graham vs. Assurance IQ LLC
DOCUMENT(S) SERVED:              Citation, Return, Petition,
COURT/AGENCY:                    Travis County Justice Court, TX
                                 Case # J2CV22000276
NATURE OF ACTION:                Petition for seeks damages in the amount of $20,000.00
ON WHOM PROCESS WAS SERVED:      C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:        By Certified Mail on 01/26/2022 postmarked on 01/24/2022
JURISDICTION SERVED :            Texas
APPEARANCE OR ANSWER DUE:        By the end of the 14th day after the day you were served with these papers
ATTORNEY(S) / SENDER(S):         Daniel Graham
                                 5812 Mossbrook Trail
                                 Dallas, TX 75252
                                 214-236-7996
ACTION ITEMS:                    CT has retained the current log, Retain Date: 01/27/2022, Expected Purge Date:
                                 02/01/2022

                                 Image SOP

                                 Email Notification, Legal Process Unit legal.process.unit@prudential.com
                                 Email Notification, Susan Arizzo susan.arizzo@prudential.com

                                 Email Notification, Rosalia Bernal rosalia.bernal@prudential.com

                                 Email Notification, Darbi Luzzi darbi.luzzi@prudential.com
                                 Email Notification, Veronica O'Neal veronica.oneal@prudential.com

                                 Email Notification, Lissette Diaz lissette.diaz@prudential.com

                                 Email Notification, Pamela Sidoti pamela.sidoti@prudential.com
                                 Email Notification, Cheryl Moore cheryl.moore@prudential.com




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                                                                                                  EXHIBIT A
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                                                                                                    Service of Process
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                                                                                                    01/26/2022
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                                                  Email Notification, Florence Yee Florence.Yee@Prudential.com
                                                  Email Notification, Julianne Hackett julianne.hackett@prudential.com

                                                  Email Notification, Karen Ackland karen.ackland@prudential.com

                                                  Email Notification, Abel Njonguo abel.njonguo@prudential.com
                                                  Email Notification, John Zwick john.zwick@prudential.com

                                                  Email Notification, Alison Fitzsimmons alison.fitzsimmons@prudential.com

REGISTERED AGENT ADDRESS:                         C T Corporation System
                                                  1999 Bryan Street
                                                  Suite 900
                                                  Dallas, TX 75201
                                                  800-448-5350
                                                  MajorAccountTeam1@wolterskluwer.com
The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
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Case 1:22-cv-00110 Document 1-1 Filed 02/09/22 Page 5 of 6
Case 1:22-cv-00110 Document 1-1 Filed 02/09/22 Page 6 of 6
